                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )              NO. 3:16-CV-02623
                                              )                 3:09-CR-00047
       v.                                     )
                                              )
                                              )
ADRIAN PATTERSON                              )

                UNITED STATES’ MOTION TO SET STATUS HEARING

       The United States requests the Court set a status hearing to discuss the defendant’s pro se

letter which he filed in his civil case, 3:16-CV-02623. That letter also raises issues regarding his

guilty pleas to the remaining counts of his criminal case, 3:09-CR-00047. Therefore, the United

States requests the status conference be scheduled in both cases.

                                                     Respectfully submitted,

                                                     DONALD Q. COCHRAN
                                                     United States Attorney
                                                     s/ Sunny A.M. Koshy
                                                     SUNNY A.M. KOSHY
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing was served by the Court=s Electronic
Case Filing (ECF) system on Kyle Mothershead, Counsel for Defendant/Petitioner Adrian
Patterson, this 21st day of May, 2018.

                                                     s/Sunny A.M. Koshy
                                                     SUNNY A.M. KOSHY
                                                     Assistant United States Attorney




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